     Case 3:19-cv-00921-K Document 1 Filed 04/16/19                Page 1 of 6 PageID 1


                            UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF TEXAS

MITCH ABEITA,                                  ) Case No.:
                                               )
               Plaintiff,                      )
                                               ) Hon.
       v.                                      )
                                               )
UNITED SERVICES AUTOMOBILE                     ) Demand for Jury Trial
ASSOCIATES DBA USAA                            )
                                               )
               Defendant.                      )



                                 PLAINTIFFS’ COMPLAINT

       MITCH ABEITA (Plaintiff), through his attorneys, LAW OFFICES OF RYAN LEE,

PLLC, alleges the following against UNITED SERVICES AUTOMOBILE ASSOCIATES DBA

USAA (Defendant):

                                      INTRODUCTION

       1.      Plaintiff’s Complaint is based on Telephone Consumer Protection Act, 28 U.S.C.

§ 227 et seq. (TCPA).

       2.      The TCPA was designed to prevent calls and text messages like the ones

described herein, and to protect the privacy of citizens like Plaintiffs. “Voluminous consumer

complaints about abuses of telephone technology – for example, computerized calls dispatched

to private homes – prompted Congress to pass the TCPA.” Mims v. Arrow Fin. Servs., LLC, 132

S. Ct. 740, 744 (2012).

       3.      In enacting the TCPA, Congress intended to give consumers a choice as to how

corporate similar entities may contact them, and made specific findings that “[t]echnologies that

might allow consumers to avoid receiving such calls are not universally available, are costly, are




                                               -1-
       Case 3:19-cv-00921-K Document 1 Filed 04/16/19                  Page 2 of 6 PageID 2


unlikely to be enforced, or place an inordinate burden on the consumer. TCPA, Pub. L. No.

102–243, § 11. In support of this, Congress found that

                  [b]anning such automated or prerecorded telephone calls to the
                  home, except when the receiving party consents to receiving the
                  call or when such calls are necessary in an emergency situation
                  affecting the health and safety of the consumer, is the only
                  effective means of protecting telephone consumers from this
                  nuisance and privacy invasion.

        Id. at § 12; see also Martin v. Leading Edge Recovery Solutions, LLC, 2012 WL

        3292838, at* 4 (N.D.Ill. Aug. 10, 2012) (citing Congressional findings on TCPA’s

        purpose).

        4.        Congress also specifically found that “the evidence presented to the

Congress indicates that automated or prerecorded calls are a nuisance and an invasion of

privacy, regardless of the type of call….” Id. at §§ 12-13. See also, Mims, 132 S. Ct. at

744.



                                   JURISDICTION AND VENUE

        5.        Jurisdiction of this Court over Plaintiff’s Complaint arises pursuant to 28 U.S.C.

§ 1331.

        6.        Because Defendant conducts business in the State of Texas personal jurisdiction

is established.

        7.        Venue is proper pursuant to 28 U.S.C. 1391(b)(2).



                                              PARTIES

        8.        Plaintiff is a natural person who resides in Grand Prairie, Texas.

        9.        Plaintiff is informed, believe, and thereon allege, that Defendant is a national

company with a main business office in San Antonio, Texas




                                                  -2-
      Case 3:19-cv-00921-K Document 1 Filed 04/16/19                  Page 3 of 6 PageID 3


        10.     Defendant acted through its agents, employees, officers, members, directors,

heirs, successors, assigns, principals, trustees, sureties, subrogees, representatives, and insurers.



                                       FACTUAL ALLEGATIONS

        11.     In or around October 2017, Defendant began constantly and consistently placing

telephone calls to plaintiff in an attempt to collect a debt an alleged debt.

        12.     Defendant places telephone calls to Plaintiff MITCH ABEITA on his cellular

telephone at 214-534-5706.

        13.     Based upon the timing and frequency of Plaintiffs calls and per its prior business

practices, each collection call placed by Defendant to Plaintiffs was placed using an automatic

telephone dialing system.

        14.     On October 23, 2017 at 8:33 a.m., Plaintiff called Defendant at the phone number

800-531-0378 and spoke with Defendant’s representative.             During the conversation with

Defendant’s representative, Plaintiff told Defendant to stop calling his cell phone.

        15.     Plaintiff both revoked any consent, either explicitly or implicitly, to receive

automated telephone calls from Defendant on his cellular telephone.

        16.     Despite Plaintiffs’ request to cease, Defendant placed two-hundred and seventeen

(217) calls to Plaintiff’s cellular phone.

        17.     Plaintiff never provided Plaintiff’s cellular telephone number to Defendant

and never provided Plaintiff’s consent to Defendant to be contacted on Plaintiff’s cellular

telephone.

        18.     If Defendant at one time had consent to place calls to Plaintiff’s cellular

telephone number, it no longer has consent to call Plaintiff after being instructed by

Plaintiff to cease all calls to her.

        19.     Defendant’s calls constituted calls that were not for emergency purposes as




                                                 -3-
     Case 3:19-cv-00921-K Document 1 Filed 04/16/19                Page 4 of 6 PageID 4


defined by 47 U.S.C. § 227(b)(1)(A).

       20.     Defendant’s calls were placed to telephone number assigned to a cellular

telephone service for which Plaintiff incurs a charge for incoming calls pursuant to 47

U.S.C. § 227(b)(1).

       21.     Plaintiff is not a customer of Defendant’s services, has never provided any

personal information, including Plaintiff’s cellular telephone number, to Defendant for any

purpose whatsoever.

       22.     Accordingly, Defendant never received Plaintiff’s “prior express consent”

to receive calls using an automatic telephone dialing system or an artificial or prerecorded

voice on Plaintiff’s cellular telephone pursuant to 47 U.S.C. § 227(b)(1)(A).

       23.     Despite this, Defendant continued to place repeated collection calls to Plaintiff,

on Plaintiff’s cellular telephone, using an “automated telephone dialing system.”



                                           COUNT I

   DEFENDANT VIOLATED THE TELEPHONE CONSUMER PROTECTION ACT

       24.     Defendant’s actions alleged supra constitute numerous negligent violations of the

               TCPA, entitling Plaintiff to an award of $500.00 in statutory damages for each

               and every violation pursuant to 47 U.S.C. § 227(b)(3)(B).

       25.     Defendant’s actions alleged supra constitute numerous and multiple knowing

               and/or willful violates of the TCPA, entitling Plaintiff to an award of $1500.00 in

               statutory damages for each and every violation pursuant to 47 U.S.C. §

               227(b)(3)(B) and 47 U.S.C. § 227(b)(3)(C).

       WHEREFORE, Plaintiff respectfully prays that judgment be entered against the

Defendant for the following:



                                               -4-
     Case 3:19-cv-00921-K Document 1 Filed 04/16/19                Page 5 of 6 PageID 5


       26.    Statutory damages of $500.00 for each and every negligent violation of the

              TCPA pursuant to 47 U.S.C. § (b)(3)(B);

       27.    Statutory damages of $1500.00 for each and every knowing and/or willful

              violation of the TCPA pursuant to 47 U.S.C. § (b)(3)(b) and 47 U.S.C. §

              (b)(3)(C);

       28.    All court costs, witness fees and other fees incurred; and

       29.    Any other relief that this Honorable Court deems appropriate.



Dated: April 16, 2019                RESPECTFULLY SUBMITTED,

                                     LAW OFFICES OF RYAN LEE, PLLC


                                     By: /s/ Ryan Lee                            .

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                                              -5-
Case 3:19-cv-00921-K Document 1 Filed 04/16/19   Page 6 of 6 PageID 6




                                -6-
